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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 1:20cv23598 WILLIAMS / TORRES

   ERIC MATUTE CASTRO and R.Y.M.R.,

                                   Plaintiffs,
                            v.

   UNITED STATES OF AMERICA,

                            Defendant.
   ________________________________________/

    DEFENDANT’S MOTION TO EXCLUDE OPINION TESTIMONY OF PLAINTIFFS’
     EXPERT DR. CUNEO AND/OR STRIKE DR. CUNEO AS AN EXPERT WITNESS

          Defendant United States of America, pursuant to Federal Rule of Evidence 702, hereby

   moves to strike the reports of Plaintiffs’ expert Dr. Charles Nicholas Cuneo, and preclude Plaintiffs

   from eliciting any opinions from Dr. Cuneo on the subject of post-traumatic stress disorder

   (“PTSD”), anxiety disorder, and the diagnosis of these conditions.

      1. Dr. Cuneo, who is neither a psychiatrist nor a psychologist, is unqualified to make his

          findings.

      2. Dr. Cuneo’s reports have none of the reliability factors set forth in Daubert v. Merrell Dow

          Pharmaceuticals, Inc., 509 U.S. 579 (1993). Dr. Cuneo failed to comply with the standard

          testing methodologies for reaching his proffered diagnoses and his testing methodology

          has neither been subjected to peer review nor generally accepted in the scientific

          community.

      A. INTRODUCTION

          Plaintiffs have filed a tort action against the United States pursuant the Federal Tort Claims

   Act, 28 U.S.C. § 1346(b)(1) (“FTCA”), in which they assert four causes of action under California
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   law: battery; assault; negligence; and intentional infliction of emotional distress (“IIED”). [ECF

   No. 24]. Plaintiffs allege that immigration officials unlawfully separated R.Y.M.R. from Eric

   Matute Castro and subsequently transferred R.Y.M.R. to the custody of a different government

   agency. Id. at ¶¶ 66, 68, 70, and 72. As a result, Plaintiffs allege that they suffered “substantial

   damages, including physical pain and suffering, mental and emotional pain and anguish, and other

   losses that continue to this day.” Id. at ¶ 80.

          On August 15, 2022, Plaintiffs disclosed Dr. Cuneo’s two expert reports, as required by

   the Amended Scheduling Order and Order Extending Time to Serve Expert Disclosures [ECF Nos.

   48 and 64]. (“R.Y.M.R. Report” and “Matute Castro Report,” attached hereto as Exhibits 1 and

   2, respectively)

          Dr. Cuneo is not qualified to offer the mental health diagnosis opinions he has rendered in

   this case. He is neither a psychologist nor a psychiatrist, and he lacks the requisite education or

   training to offer his opinions. Moreover, while Dr. Cuneo diagnosed both Plaintiffs with PTSD,

   he failed to follow any reliable methodology in rendering those opinions. Not only did Dr. Cuneo

   fail to follow the accepted testing methodologies for PTSD assessment—the Clinician

   Administered PTSD Scale for DSM-5 (“CAPS-5”) 1 and the Clinician Administered PTSD Scale

   for DSM-5 – Child/Adolescent Version (“CAPS-CA-5”) 2—he failed to use any reliable

   methodology.       Dr. Cuneo also diagnosed R.Y.M.R. with “anxiety disorder,” a condition he

   concedes is not in the Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition (“DSM-



   1
     Clinician-Administered PTSD Scale for DSM-5 (CAPS-5), U.S. DEPT. OF VETERANS AFFAIRS,
   NATIONAL CENTER FOR PTSD (June 25, 2023)
   https://www.ptsd.va.gov/professional/assessment/adult-int/caps.asp.
   2
    Clinician-Administered PTSD Scale for DSM-5 – Child/Adolescent Version (CAPS-CA-5), U.S.
   DEPT. OF VETERANS AFFAIRS, NATIONAL CENTER FOR PTSD (June 25, 2023)
   https://www.ptsd.va.gov/professional/assessment/child/caps-ca.asp.


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   5”). See Deposition of Dr. C. Nicholas Cuneo, p. 176:11 – 25, attached as Exhibit 3. Given Dr.

   Cuneo’s lack of qualifications to render a mental health diagnosis and the unreliability of his

   opinions, Dr. Cuneo may not provide any opinions at trial, including his purported diagnoses and

   any causal connection between these diagnoses and the Plaintiffs’ time in government custody.

      B. DR. CUNEO IS UNQUALIFIED TO RENDER AN OPINION ON MENTAL
         HEALTH; THEREFORE, HIS OPINIONS ON THIS SUBJECT MUST BE
         EXCLUDED UNDER DAUBERT

          In Daubert v. Merrill Dow Pharmaceuticals, Inc., the Supreme Court held that a party

   proffering an expert must establish that the expert is qualified to render the opinions at issue and

   that the methodology used to reach the opinion is reliable. 509 U.S. 579, 592 (1993). The Supreme

   Court further held that Rule 702 “is premised on an assumption that the expert’s opinions will have

   a reliable basis in the knowledge and expertise of his discipline.” Id. at 592 (emphasis added). The

   critical inquiry is whether the expert has the knowledge and expertise for the particular opinion he

   or she seeks to offer at trial, which in this case is the diagnosis of PTSD, anxiety disorder and its

   purported causal connection Dr. C. Nicholas the Plaintiffs’ treatment while in government custody.

          Dr. Cuneo conceded in his deposition that he is neither a psychologist, nor is he a

   psychiatrist. See Cuneo deposition, p. 43:14 – p. 44:7. With respect to his formal training in the

   area of mental health, Dr. Cuneo did not take any classes in medical school sufficient to achieve a

   specialization in anything other than general medicine. Id. at p. 32:4-7. His exposure to psychiatry

   during his residency was limited to standard material integrated into multidisciplinary courses

   throughout his training, but was not a central focus. Id. at p. 33:19 – 34:10. Since becoming a

   licensed physician, he has never worked at a primary inpatient psychiatric institution. Id. at p.

   45:16 – 23. He also does not treat adults at his primary employer of Bayview Pediatric Center in

   Maryland. Id. at p. 40:12-13. Simply put, Dr. Cuneo is not qualified to render his proffered medical




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   diagnoses, as he is a pediatrician with no recent or relevant education, training, or experience in

   psychiatry, psychology, or the diagnosis of mental health disorders. For this reason alone, Dr.

   Cuneo’s mental health opinions should be disallowed. A medical doctor is unqualified to make a

   psychiatric diagnosis, such as PTSD, when the doctor does not have specialized training or

   education in the area of mental health disorders or psychiatry. See Schaeffer v. US Airways Group,

   LLC, 2012 U.S. Dist. LEXIS 99666, 2012 WL 2920375 (E.D. Penn. July 17, 2012) (excluding the

   testimony of a medical doctor on the subject of PTSD when he was not an expert in psychiatry,

   psychology, psychotherapy, the area of PTSD or its diagnostic criteria; only took a course in

   psychiatry while in medical school; and was “not an expert by skill or training in the area of

   diagnosis or causation of PTSD” but merely “occasionally treat[ed] patients who have the

   disorder”).

          Similarly, a medical doctor with limited education or training in psychiatry and psychology

   is not qualified to opine on the issue of PTSD. See Ferris v. Penn. Fed. Brotherhood Maintenance

   of Way Employees, 153 F. Supp. 2d 736, 745 (E.D. Penn. 2001). In Ferris, the plaintiff sought to

   introduce expert physician testimony on his alleged medical conditions. Id. at 743. However, the

   proffered expert medical doctor, who specialized in the areas of pathology and pain management,

   had limited training in depression and anxiety as he only took one course on mental health in

   medical school. Id. at 743-44. Analyzing the admissibility of the expert’s opinions, the court

   stated: “Although an expert’s testimony is not limited to the area in which he or she has specialized,

   the party offering the expert must demonstrate that the expert has the necessary expertise to provide

   reliable evidence.” Id. When the proposed testimony falls outside of the witness’s expertise, the

   court must exclude it. Id. Where a medical doctor has no expertise in the diagnosis and treatment

   of depression or anxiety disorders or the causes of these ailments, the doctor should be precluded




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   from providing any opinions with respect to the causal relationship between the plaintiff’s mental

   conditions and diagnosis and the subject incident. Id. at 744. 3

          In this case, Dr. Cuneo is similarly unqualified to render a PTSD diagnosis based on his

   education, training, and experience. He is a pediatrician with no specialized training, experience,

   or education in psychiatry, psychology, or the diagnosis of PTSD. Although Dr. Cuneo may, on

   occasion, treat patients with a mental health disorder, this alone does not qualify him as an expert

   to diagnose PTSD. See Schaeffer, 2012 WL 2920375. Much like Schaeffer and Ferris, in which

   the medical doctors were not qualified to testify about their PTSD diagnosis or its causal

   connection to the subject incident, Dr. Cuneo should likewise be precluded from providing any




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     Even proposed experts who—unlike Dr. Cuneo—specialize in counseling and treating patients
   with psychological conditions, such as licensed clinical social workers and licensed therapists, are
   also unqualified to render a PTSD diagnosis when they lack specialized psychological or
   psychiatric training and education. See Naquin v. Elevating Boats, LLC, 2012 WL 1664257 (E.D.
   La. May 11, 2012) (finding that “treating someone for PTSD is an altogether different matter than
   diagnosing it” and determining that a licensed clinical social worker was not qualified under
   Daubert to testify about her diagnosis of PTSD); Nemeth v. Citizens Financial Group, 2012 WL
   3278968 (E.D. Mich. Aug. 10, 2012) (excluding opinion of licensed clinical social worker that
   the plaintiff suffered from PTSD because she lacked education and training in psychiatry and
   psychology and because her qualifications were limited to a master’s degree in social work along
   with eighteen years of experience as a licensed therapist); Lee v. National KK Passenger Corp.,
   2012 WL 92363 (S.D. Miss. Jan. 11, 2012) (precluding licensed clinical social worker from
   testifying about a PTSD diagnosis when she had no psychology degrees, was not a psychologist
   or psychiatrist, and could not administer psychological tests even though she treated patients
   suffering from PTSD as treating someone for PTSD is an altogether different matter than
   diagnosing it”) (emphasis added); Blackshear v. Werner Enters., 2005 WL 6011291 (E.D. Ky.
   May 19. 2005) (holding a diagnosis of PTSD was outside a licensed clinic social worker’s
   “discipline” and qualifications as social workers are not qualified to make a PTSD diagnosis
   because they are not trained or licensed in psychology); Berry v. McDermid Transp., Inc., 2005
   WL 2147946 (S.D. Ind. Aug. 1, 2005) (holding a licensed therapist was not qualified to diagnose
   PTSD, even though the witness had 24 years of work experience with traumatized patients); Adams
   v. NVR Homes, Inc., 141 F. Supp. 2d 554, 561 (D. Md. 2001) (“Dr. Matson is not a
   psychologist nor a psychiatrist and is not qualified to offer an expert opinion as to any aspect of
   plaintiff’s mental condition.”).


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   opinions at trial about his PTSD diagnoses and anxiety disorder diagnosis, because he is not

   qualified as an expert in these areas.

      C. DR. CUNEO’S DIAGNOSES OF PTSD AND ANXIETY DISORDER ARE
         UNRELIABLE AND MUST BE EXCLUDED

          When determining the reliability of an expert’s proposed opinions, courts will consider a

   number of criteria, including: whether the expert’s method consists of a testable hypothesis,

   whether the method has been subject to peer review, the existence of standards controlling the

   technique’s operation, whether the method is generally accepted, and the relationship of the

   technique to the methods which have been established to be reliable. Ferris, 153 F. Supp. 2d at

   741. The party offering the testimony has the burden of establishing the admissibility of the

   evidence, which in this case includes the reliability of the expert’s proposed opinion. Id.

          When offering opinions on a PTSD diagnosis, the expert cannot simply rely on the patient’s

   self-reported symptoms without performing any psychological tests to determine the accuracy of

   the diagnosis or otherwise independently verify the self-reported symptoms. See Kador v. CU of

   New Roads, 2011 WL 4889102 (M.D. La. Oct. 13, 2011). In Kador, the District Court determined

   the plaintiff’s expert, who diagnosed him with PTSD and Panic Disorder with Agoraphobia by

   applying the plaintiff’s symptoms to the criteria set forth in the Diagnostic and Statistical Manual

   of Mental Disorders (DSM-IV), did not use a reliable methodology. Id. In particular, the expert

   accepted the plaintiff’s self-reported symptoms, but did nothing to independently verify them

   before making the diagnosis. Id. Under these circumstances, the opinion was “fundamentally

   unsupported” and offered no assistance to the jury. Id. Accordingly, the District Court excluded

   the expert’s opinions at trial regarding the psychiatric diagnosis. Id.; see also Ferris, 153 F. Supp.

   2d at 744 n. 4 (finding that medical doctor’s diagnosis of PTSD, which assumed everything the




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   plaintiff told him was true unless it conflicted with his medical judgment, was either no method at

   all or contained no indicia of reliability, making it inadmissible).

          Here, Dr. Cuneo took no account of reports from R.Y.M.R.’s other medical providers

   regarding R.Y.M.R.’s health and mental status that conflicted with his own findings. See

   Borinquen records, attached hereto as Exhibit 4, MATUTE_GOV_SUBP_000461; See also id. at

   MATUTE_GOV_SUBP_000451, 452, 455. Dr. Cuneo similarly took no account of the records

   of R.Y.M.R.’s mental health counselor, Paola Rojas, which also conflicted with his conclusions.

   See    Trauma     Resolution     Center     records,    attached       hereto   as   Exhibit   5   at

   MATUTE_GOV_SUBP_000620, 636; Rojas deposition, attached hereto as Exhibit 6, p. 55:23 -

   57:21, 87:2 – 88:12; 88:23 – 89:8; MATUTE_GOV_SUBP_000779; Exhibit 5 at

   MATUTE_GOV_SUBP_000650.

          Similarly, when an expert’s opinion conflicts with the relevant DSM criteria for a diagnosis

   of PTSD, that expert’s opinion is not reliable. See Woods v. Olin Corp., 2002 WL 34371098, *2

   (S.D. Ill. July 9. 2002). In Woods, the expert’s opinion on PTSD was based on inaccurate facts

   and the diagnosis itself conflicted with the PTSD criteria under the DSM-IV. Id. Regarding the

   inaccuracy of facts, the expert relied solely on information the plaintiff provided to render the

   diagnosis but did not contact any of the plaintiff’s prior physicians or therapists to verify the

   information or review any other medical records or treatment notes from other physicians. Id. For

   this reason, the expert’s opinions were based on inaccurate facts, making them unreliable. In

   addition, the expert testified she relied on the DSM-IV criteria to render her diagnosis; however,

   her opinions actually contradicted these criteria. Id. at *3. The district court concluded that “the

   expert’s theory is a far cry from the tested hypotheses foreseen as the basis of ‘scientific

   knowledge’ testified to under Rule 702” and excluded the expert’s testimony as unreliable. Id.




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          In this case, Dr. Cuneo likewise used no reliable methodology for diagnosing Plaintiffs

   with PTSD. By his own admission, Dr. Cuneo failed to employ a widely accepted method of

   PTSD diagnosis methodology; instead, he administered incomplete, “modified” versions of the

   CAPS-5 and CAPS-CA-5 PTSD tests to the Plaintiffs. Cuneo deposition p. 24:3-14. He did so

   despite conceding that providing complete versions of the exams is standard practice “for some.”

   Id., p. 87:24 – p. 88:3. Dr. Cuneo also conceded that he was unaware of any information or studies

   regarding the validity of administering only portions of the CAPS-5 or CAPS-CA-5 tests to assist

   in diagnosing or screening for PTSD. Id. at p. 17:10 – 17:19.

          Specifically, pursuant to the DSM-5, a PTSD diagnosis requires eight criteria to be met,

   including:

          Criteria B: Presence of one (or more) of the intrusion symptoms associated with
          the traumatic event(s), beginning after the traumatic event(s) occurred;
          Criteria C: Persistent avoidance of stimuli associated with the traumatic event(s),
          beginning after the traumatic event(s) occurred;
          Criteria D: Negative alterations in cognitions and mood associated with the
          traumatic event(s), beginning or worsening after the traumatic event(s) occurred;
          Criteria E: Marked alterations in arousal and reactivity associated with the
          traumatic event(s), beginning or worsening after the traumatic event(s) occurred
          Criteria F: Duration of the disturbance (Criteria B, C, D, and E) is more than 1
          month;

   See DSM-5, Posttraumatic Stress Disorder, Diagnostic Criteria, pp. 302 – 305. (Attached hereto

   as Exhibit 7). Critically,

          The diagnosis of PTSD requires that the duration of the symptoms in Criteria B, C,
          D, and E be more than 1 month (Criterion F). For a current diagnosis of PTSD,
          Criteria B, C, D, and E must all be met for more than 1 month, for at least the past
          month. For a lifetime diagnosis of PTSD, there must be a period of time lasting
          more than 1 month during which Criteria B, C, D, and E have all been met for the
          same 1-month period of time.

   Id. at pp. 308 – 309. However, Dr. Cuneo’s examinations of both Plaintiffs were limited to whether

   they had experienced symptoms in the past month—meaning he did not determinate whether they




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   had experienced any symptoms for more than one month. Cuneo deposition at p. 18:2-5; p. 75:19-

   24; p. 83:15-19; p. 96:14-22; p. 121:17-21; p. 222:12-1; p. 260:10-16; p. 261:4-6; and p. 262:7-17.

   Dr. Cuneo’s notes contain no information showing the persistence, duration, or severity of any of

   the Plaintiffs’ symptoms, or whether all of PTSD Criteria B, C, D, and E were simultaneously met

   for more than a month. See MATUTE_Plaintiffs_000733 – 000743, 000746 – 000747, 000767 –

   000768, attached hereto as Exhibit 8).

           In addition, both of Dr. Cuneo’s modified PTSD tests were administered through an

   interpreter.   Cuneo deposition, p.62:13-22.     Plaintiffs have produced no evidence of the

   interpreter’s qualifications, or accuracy. Dr. Cuneo has no knowledge whether the interpreter ever

   received training or certification on administering the CAPS-5 or CAPS-CA-5 exams, or any

   medical exam in general.      Id. at p. 62:22-25.     Dr. Cuneo acknowledged that the actual

   administration of the CAPS-5 exam requires that the prompts be read verbatim. Id. at p. 26:3-7.

   Plaintiffs have produced no evidence of the accurate translation of the “modified” versions of the

   two examinations. Because Plaintiffs have produced no evidence that interpreter accurately

   conducted the “modified” CAPS-5 and CAPS-CA-5 examinations, Dr. Cuneo’s reliance on the

   reports lacks all indica of reliability as he failed to follow the standards controlling the

   methodology’s operation. Daubert, 509 U.S. at 582.

           Therefore, in addition to his lack of qualifications, Dr. Cuneo’s testimony should also be

   excluded because his proffered diagnoses meet none of the reliability factors set forth in Daubert

   and lack indicia of reliability. His methods have not been tested or subjected to peer review and

   are not generally accepted in the scientific community.

       D. CONCLUSION




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           WHEREFORE Defendant, the United States of America, hereby seeks to exclude any

    opinions from Dr. Cuneo in which he discusses PTSD or anxiety disorder, diagnoses the Plaintiffs

    with PTSD or anxiety disorder, or provides any causation opinions relating Plaintiffs’ PTSD or

    anxiety disorder arising from their time in government custody, and any other relief this Court

    deems proper.


           Dated: June 30, 2023                        Respectfully submitted,

                                                       MARKENZY LAPOINTE
                                                       UNITED STATES ATTORNEY

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